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6
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     United States of America,             ) Case No. CR.S. 06-0035 MCE
8              Plaintiff,                  )
          vs.                              ) DATE: September 25, 2008
9
                                           ) TIME: 8:30 a.m.
10
     Zachary Jenson,                       ) COURT: Hon. Morrison C. England,
               Defendant                   ) Jr.
11                                         )
                                           ) Stipulation and Order To
12                                         ) Continue Judgment & Sentencing
                                           )
13

14
           Zachary Jenson is currently scheduled to be sentenced on
15
     August 7, 2008.   The parties agree and stipulate that Mr.
16

17
     Jenson’s sentencing should be moved to September 25, 2008 and

18   that date is available with the Court.
19
          The parties request the following schedule:
20
               Informal Objections:           September 4, 2008
21
               Final PSR Disclosed:           September 11, 2008
22

23
               Sentencing Memorandums:        September 18, 2008

24             Judgment & Sentencing:         September 25, 2008
25

26
     Dated: July 24, 2008                      Respectfully submitted,
27

28                                              _/s/ Shari Rusk______

                                       1


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                                              Shari Rusk
1
                                              Attorney for Defendant
2                                             Zachary Jenson

3
     Dated: July 24, 2008                   /s/ Ellen Endrizzi
4
                                                Ellen Endrizzi
5                                               Assistant United States
                                                Attorney
6

7
                                ORDER
8
          It is so ordered that Zachary Jenson be set for judgment
9    and sentencing on September 25, 2008.
10

11
     Dated: August 4, 2008

12                                 __________________________________
                                   MORRISON C. ENGLAND, JR
13
                                   UNITED STATES DISTRICT JUDGE
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